Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49   Desc:
                       Proposed Order Page 1 of 13


                                  Exhibit A

                               Proposed Order
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49                                         Desc:
                       Proposed Order Page 2 of 13


                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO

---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            :    PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      :    Title III
                                                                       :
                  as representative of                                 :    Case No. 17-BK-3283 (LTS)
                                                                       :
THE COMMONWEALTH OF PUERTO RICO et al.,                                :    (Jointly Administered)
                                                                       :
                            1
                  Debtors.                                             :
---------------------------------------------------------------------- X

    ORDER, PURSUANT TO BANKRUPTCY CODE SECTION 502 AND BANKRUPTCY
       RULE 3007, ESTABLISHING PROCEDURES WITH RESPECT TO OMNIBUS
       OBJECTION OF (I) FINANCIAL OVERSIGHT AND MANAGEMENT BOARD,
      ACTING THROUGH ITS SPECIAL CLAIMS COMMITTEE, AND (II) OFFICIAL
     COMMITTEE OF UNSECURED CREDITORS, TO CLAIMS FILED OR ASSERTED
    BY HOLDERS OF CERTAIN COMMONWEALTH GENERAL OBLIGATION BONDS
                        AND GRANTING RELATED RELIEF

         Upon consideration of the Urgent Motion of (i) Financial Oversight and Management

Board, Acting Through its Special Claims Committee, and (ii) Official Committee of Unsecured

Creditors for Entry of Order, Under Sections 105(a) and 502 of the Bankruptcy Code,

Bankruptcy Rule 3007, and Sections 301(a) and 310 of PROMESA, Establishing Procedures

with Respect to Omnibus Objection to Claims Filed or Asserted by Holders of Certain




1
     The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
     (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
     Rico (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
     Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of
     Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
     No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
     Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last
     Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy
     Case No. 17-BK-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as
     Bankruptcy Case numbers due to software limitations).
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49                             Desc:
                       Proposed Order Page 3 of 13


Commonwealth General Obligation Bonds and Requesting Related Relief (the “Motion”),2 and

the exhibits attached thereto, and the Court having found and determined that: (i) the Court has

jurisdiction to consider the Motion and the relief requested therein pursuant to section 502 of the

Bankruptcy Code as incorporated by section 301 of PROMESA and Bankruptcy Rule 3007, as

incorporated by section 310 of PROMESA; (ii) venue is proper before this Court pursuant to

PROMESA section 307(a); (iii) due and proper notice of this Motion has been provided under

the particular circumstances and no other or further notice need be provided; (iv) based on the

statements and arguments made in the Motion, the relief requested in the Motion is in the best

interest of the Commonwealth and its creditors; (v) any objections to the relief requested in the

Motion having been withdrawn or overruled; and (vi) the Court having determined that the legal

and factual bases set forth in the Motion establish just cause for the relief granted herein.

Accordingly, it is hereby ORDERED THAT:

        1.       The relief requested in the Motion is GRANTED to the extent set forth herein.

        2.       The Objectors are hereby authorized to proceed under Bankruptcy Rule 3007(c),

as incorporated by section 310 of PROMESA, with their Objection to the Challenged GO Bonds

on an omnibus basis; and the filing of the Objection shall not limit the ability of the Objectors, or

any other party in interest, to subsequently object to the Challenged GO Bonds on grounds other

than those set forth in the Objection, and all other claims, counterclaims and defenses are hereby

preserved.

        3.       The Objection Notice and the Objection Procedures, annexed hereto as Exhibit 1

and Exhibit 2 respectively, are hereby approved. The Objection Procedures are deemed to have

been incorporated herein.


2
    Capitalized terms not defined herein shall have the meanings ascribed to them in the Motion.



                                                        2
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49                           Desc:
                       Proposed Order Page 4 of 13


         4.       The Objectors shall cause the publication of a notice, substantially in the form of

the Objection Notice once in (a) El Nuevo Dia in Spanish (primary circulation in Puerto Rico),

(b) Caribbean Business in English (primary circulation is in Puerto Rico), (c) El Diario and El

Nuevo Herald, both in Spanish (primary circulation in New York and Miami, respectively),

(d) The Bond Buyer, and (e) on the municipal bond website EMMA,

https://emma.msrb.org/Home, each within five (5) days of the entry of this Order, which

publication notice shall be deemed, good, adequate and sufficient publication notice of the

Objection and the Objection Procedures.

         5.       DTC and Cede are hereby directed to provide a copy of the Objection Notice and

Objection Procedures to all beneficial holders of the Challenged GO Bonds within five (5) days

of the entry of this Order.

         6.       The Objectors may exceed the 35-page motion brief limit set in the Case

Management Procedures by filing the Objection not to exceed fifty (50) pages, exclusive of the

cover page, table of contents, table of authorities, signature page, exhibits, and the certificate of

service.

         7.       The terms of and conditions of this Order shall be immediately effective and

enforceable upon its entry.

         8.       This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Dated:        January ____, 2019

                                                         ___________________________________
                                                         HONORABLE LAURA TAYLOR SWAIN
                                                         UNITED STATES DISTRICT JUDGE




                                                    3
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49   Desc:
                       Proposed Order Page 5 of 13


                                  Exhibit 1

                               Objection Notice
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49                                        Desc:
                       Proposed Order Page 6 of 13


                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            :   PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      :   Title III
                                                                       :
                  as representative of                                 :   Case No. 17-BK-3283 (LTS)
                                                                       :
THE COMMONWEALTH OF PUERTO RICO et al.,                                :   (Jointly Administered)
                                                                       :
                            1
                  Debtors.                                             :
---------------------------------------------------------------------- X

      NOTICE OF OMNIBUS OBJECTION OF (I) FINANCIAL OVERSIGHT AND
        MANAGEMENT BOARD, ACTING THROUGH ITS SPECIAL CLAIMS
    COMMITTEE, AND (II) OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
    PURSUANT TO BANKRUPTCY CODE SECTION 502 AND BANKRUPTCY RULE
        3007, TO CLAIMS FILED OR ASSERTED BY HOLDERS OF CERTAIN
               COMMONWEALTH GENERAL OBLIGATION BONDS

       You are receiving this notice because you have been identified as holding one or more of
the general obligation bonds issued by the Commonwealth of Puerto Rico in or after 2012.

        Please note that the Financial Oversight and Management Board, as representative for the
Debtors, acting through its Special Claims Committee, and the Official Committee of Unsecured
Creditors have filed an Omnibus Objection, Pursuant to Bankruptcy Code Section 502 and
Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of Certain Commonwealth
General Obligation Bonds (the “Objection”). [Prime Clerk link] This Objection may affect your
rights.

       If you intend to respond to the Objection or participate in the litigation in any way, you
must follow the Court approved procedures attached hereto, which require among other things,


1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
    (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
    Rico (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
    Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of
    Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
    No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
    Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last
    Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy
    Case No. 17-BK-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as
    Bankruptcy Case numbers due to software limitations).
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49                       Desc:
                       Proposed Order Page 7 of 13


that you to file and serve a Notice of Participation by [30 days after entry of order approving
procedures], 2019.

       All questions regarding this notice should be sent in writing to:

                       Paul Hastings LLP
                       200 Park Avenue
                       New York, NY 10166
                       Attn: Douglass E. Barron
                       douglassbarron@paulhastings.com




                                                 2
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49   Desc:
                       Proposed Order Page 8 of 13


                                  Exhibit 2

                             Objection Procedures
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49                                        Desc:
                       Proposed Order Page 9 of 13


                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

---------------------------------------------------------------------- X
                                                                       :
In re:                                                                 :
                                                                       :
THE FINANCIAL OVERSIGHT AND                                            :   PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                      :   Title III
                                                                       :
                  as representative of                                 :   Case No. 17-BK-3283 (LTS)
                                                                       :
THE COMMONWEALTH OF PUERTO RICO et al.,                                :   (Jointly Administered)
                                                                       :
                            1
                  Debtors.                                             :
---------------------------------------------------------------------- X

            PROCEDURES FOR RESOLVING OMNIBUS OBJECTION
OF (I) FINANCIAL OVERSIGHT AND MANAGEMENT BOARD, ACTING THROUGH
 ITS SPECIAL CLAIMS COMMITTEE, AND (II) THE OFFICIAL COMMITTEE OF
  UNSECURED CREDITORS PURSUANT TO BANKRUPTCY CODE SECTION 502
AND BANKRUPTCY RULE 3007, TO CLAIMS FILED OR ASSERTED BY HOLDERS
        OF CERTAIN COMMONWEALTH GENERAL OBLIGATION BONDS

                                               [January __ 2019]

        The following procedures will apply to the resolution of the Omnibus Objection of the
Financial Oversight and Management Board, Acting Through its Special Claims Committee, and
the Official Committee of Unsecured Creditors, Pursuant to Bankruptcy Code Section 502 and
Bankruptcy Rule 3007, to Claims Filed or Asserted by Holders of Certain Commonwealth
General Obligation Bonds, dated January 14, 2019 [Docket No. ___] (the “Objection”). The
Financial Oversight Board, acting through its Special Claims Committee (the “Oversight Board”)
and the Official Committee of Unsecured Creditors (the “Committee”) are hereafter collectively
referred to as the “Objectors.” The Objection asserts that all claims (“Challenged GO Bond
Claims”) that have been or may be asserted against the Commonwealth of Puerto Rico (the
“Commonwealth”) on account of all general obligation bonds issued by the Commonwealth in or
after 2012 (the “Challenged GO Bonds”) are invalid.

1
    The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four
    (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto
    Rico (Bankruptcy Case No. 17-BK-3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
    Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of
    Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case
    No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
    Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566 (LTS)) (Last
    Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy
    Case No. 17-BK-4780 (LTS)) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as
    Bankruptcy Case numbers due to software limitations).
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49                         Desc:
                       Proposed Order Page 10 of 13


        The procedures set forth below, which govern your participation in the litigation relating
to the Objection, were approved by the January __, 2019 Order (the “Order”) of the United
States District Court for the District of Puerto Rico (the “District Court”). [links to Prime Clerk
website for Objection and Order]

1.     Exclusivity of Procedures

        These procedures shall be the exclusive means to participate in the litigation before the
District Court of issues relating to the disallowance of Challenged GO Bond Claims on the
grounds set forth in the Objection.

2.     Notice of Participation

        Any party in interest, including the Puerto Rico Fiscal Agency and Financial Advisory
Authority (“AAFAF”), the Official Committee of Retired Employees of the Commonwealth of
Puerto Rico (together with AAFAF, the “Title III Parties”) and any person or entity that holds a
Challenged GO Bond, whether or not such person or entity is identified in the Objection, that
wishes to participate in the litigation of the Objection may serve and file a notice of its intent to
participate in such litigation (a “Notice of Participation”). A holder of a Challenged GO Bond
that is identified on Appendix I to the Objection must file a Notice of Participation or risk
having a default judgment entered against it. Holders of Challenged GO Bonds are hereafter
referred to as “Challenged GO Bondholders.”

        The Notice of Participation shall indicate whether the party in interest who filed such
notice supports or opposes the Objection. Parties who file Notices of Participation that support
the Objection shall collectively constitute “Joint Objectors” and parties that oppose the
Objections shall collectively constitute the “Respondents,” and together with the Joint Objectors,
the “Participants.” Any such Notice of Participation shall be filed with the District Court no later
than [Date] (the “Participation Deadline”) and served on the persons identified in paragraph 8
below as the “Notice Parties.”

       A Notice of Participation filed by such party a Joint Objector or a Respondent that is not a
Challenged Bondholder shall (a) provide the name, address and email address of the Participant
and its counsel, if any, (b) contain a concise statement, not to exceed five (5) pages (double-
spaced, 12-point font), describing the basis on which such party either supports or contests the
Objection.

        A Notice of Participation filed by a Respondent that is a Challenged Bondholder shall
(a) provide the name, address and email address of the Respondent and its counsel, if any,
(b) indicate whether the Respondent acquired its Challenged GO Bond(s) by original issuance or
on the secondary market, (c) provide the date(s) of acquisition of such Challenged GO Bond(s),
(d) state which series of the Challenged GO Bonds the Respondent holds, and (e) contain a
concise statement, not to exceed five (5) pages (double-spaced, 12-point font), describing the
basis of such Respondent’s defense(s) to the Objection.

       Following the submission of the Notices of Participation, no substantive response to the
Objection need be filed until a date set forth in any scheduling order entered by the District
Court.


                                                  2
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49                        Desc:
                       Proposed Order Page 11 of 13


3.     The Preliminary Recommendation

        After consultation with the Title III Parties and the Participants that hold the 10 largest
Challenged GO Bond Claims in principal amount, the Objectors shall file with the District Court
and serve on all Participants by email no later than twenty (20) days after the Participation
Deadline a notice setting forth the names of all Participants, identifying which are Joint
Objectors and which are Respondents, a summary of the Participants’ grounds for supporting or
objecting to the relief sought in the Objection, a proposal as to which issues raised by
Participants can be subject to joint briefing, and a proposed briefing and discovery
schedule (“Preliminary Recommendation”). The Committee and the Oversight Board shall file
separate Preliminary Recommendations only to the extent necessary to present or discuss issues,
positions or arguments upon which they are unable to agree in good faith.

        The primary purpose of the Preliminary Recommendation is to identify arguments and
defenses common among the Participants that may allow the Participants to organize to ensure
that the briefing of and discovery relating to the issues raised in the Objection and Notices of
Participation are streamlined and that the resources of the District Court are not unduly taxed.

4.     Participants’ Responses and Objectors’ Reply

        Any Respondent may file a response to the Preliminary Recommendation with the
District Court and serve the Notice Parties by email no later than seven (7) days following the
filing of the Preliminary Recommendation. Such responses should be limited to the procedural
issues raised by the Preliminary Recommendation and not to the substance of the Objection.

        The Objectors shall file a reply to the Respondents’ responses, if any, no later than three
(3) days following the filing of the response (the “Reply Deadline”). Again, The Committee and
the Oversight Board shall file separate replies only to the extent necessary to present or discuss
issues, positions or arguments upon which they are unable to agree in good faith.

5.     No Substantive Response from Respondents Due

        Other than the Notices of Participation and any response to the Preliminary
Recommendation, no substantive response to the Objection need be filed by the Respondents
until a date set forth in any scheduling order entered by the District Court.

6.     Litigation

       A.      Court Status Conference

       The Court will hold a status conference on or as soon as practicable after the Reply
Deadline, at which time the following matters will be discussed and decided:

         (i)   the extent to which discovery (if any) is required;

        (ii)   the extent to which joint briefs can or should be submitted;

       (iii)   a briefing schedule;


                                                 3
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49                            Desc:
                       Proposed Order Page 12 of 13


       (iv)    if there is a dispute as to the propriety of the grouping of the Participants as
               proposed in the Preliminary Recommendation; and

        (v)    any other matter that will contribute to the fair and efficient resolution of the
               issues raised in the Objection and the Notices of Participation.

       B.      Coordination

To the extent that the Court determines that joint briefs can and should be submitted –

        (a)     The Objectors and any Joint Objector shall cooperate in good faith in order to file
joint papers with respect to the Objection/Notices of Participation and shall file separate papers
only to the extent necessary to present or discuss issues, positions or arguments upon which they
are unable to agree in good faith.

       (b)     Likewise, the Respondents shall, respectively, cooperate in good faith to file joint
papers with respect to the litigation of the Objection/Notices of Participation and shall file
separate papers only to the extent necessary to present or discuss issues, positions or arguments
upon which they are unable to agree in good faith.

       With respect to discovery –

       The Objectors and the Joint Objectors, on the one hand, and the Respondents, on the
other hand, shall use reasonable efforts to coordinate the discovery that is requested from the
other parties and to coordinate communications.

7.     No Duty

       No Respondent shall have a duty to any other Respondent or to any holder of a
Challenged GO Bond who does not file a Notice of Participation.

8.     Other Objections Permitted

        The fact that the Objectors have objected to the Challenged GO Bond Claims shall not
preclude the Objectors or any party in interest from objecting to a Challenged GO Bond on any
basis not set forth in the Objection or to any other claim asserted by the Challenged GO Bond
holder unrelated to the Challenged GO Bonds or a Title III Party from asserting additional
grounds for objecting to the Challenged GO Bond Claims pursuant to a Notice of Participation.




                                                  4
Case:17-03283-LTS Doc#:4788-1 Filed:01/14/19 Entered:01/14/19 21:54:49        Desc:
                       Proposed Order Page 13 of 13


9.    The Notice Parties

 BROWN RUDNICK LLP                         ESTRELLA, LLC
 Attn: Edward S. Weisfelner, Esq.          Attn: Alberto Estrella, Esq.
 Angela M. Papalaskaris, Esq.              Kenneth C. Suria, Esq.
 Justin S. Weddle, Esq.                    P.O. Box 9023596
 7 Times Square                            San Juan, Puerto Rico 00902-3596
 New York, NY 10036                        agestrella@estrellallallc.com
 eweisfelner@brownrudnick.com              ksuria@estrellallc.com
 apapalaskaris@brownrudnick.com
 jweddle@brownrudnick.com

 Stephen A. Best, Esq.
 601 Thirteenth Street NW, Suite 600
 Washington, D.C. 20005
 sbest@brownrudnick.com

 Sunni P. Beville, Esq.
 One Financial Center
 Boston, MA 02111
 sbeville@brownrudnick.com


 PAUL HASTINGS LLP                         CASILLAS, SANTIAGO & TORRES LLC
 Attn: Luc. A. Despins, Esq.               Attn: Juan J. Casillas Ayala, Esq.,
 James R. Bliss, Esq.                      Diana M. Batlle-Barasorda, Esq.,
 Nicholas A. Bassett, Esq.                 Alberto J. E. Añeses Negrón, Esq.,
 200 Park Avenue                           Ericka C. Montull-Novoa, Esq.,
 lucdespins@paulhastings.com               El Caribe Office Building
 jamesbliss@paulhastings.com               53 Palmeras Street, Ste. 1601
 nicholasbassett@paulhastings.com          San Juan, Puerto Rico 00901-2419
                                           jcasillas@cstlawpr.com
                                           dbatlle@cstlawpr.com
                                           aaneses@cstlawpr.com
                                           emontull@cstlawpr.com




                                       5
